Fill in this information to identify the case:

Debtor Name Breault  Research Organization Inc
            __________________________________________________________________


                                        __________
United States Bankruptcy Court for the: _______      District
                                                District      Arizona
                                                              of __________
                                                         of ________

                                                                                                                     Check if this is an
Case number: 4:19-bk-08754-BMW
              _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                August 21, 2019
                     ___________                                                               Date report filed:     09/13/2019
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                  Optical Eng. serv/software
Line of business: ________________________                                                     NAISC code:          5734-01,5413-
                                                                                                                    ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                          Linda Juozapaitis
                                            ____________________________________________

Original signature of responsible party     /s/ Linda Juozapaitis
                                            ____________________________________________

Printed name of responsible party           Linda Juozapaitis
                                            ____________________________________________


             1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No       N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔               
    2.   Do you plan to continue to operate the business next month?                                                       ✔
                                                                                                                                          
    3.   Have you paid all of your bills on time?                                                                          ✔
                                                                                                                                          
    4.   Did you pay your employees on time?                                                                               ✔
                                                                                                                                          
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   ✔
                                                                                                                                          
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                ✔
                                                                                                                                          
    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔               
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   
                                                                                                                           ✔               
    9.   Have you timely paid all of your insurance premiums?                                                              ✔
                                                                                                                                          
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           ✔
                                                                                                                                           
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔        
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     ✔
                                                                                                                                           
    13. Did any insurance company cancel your policy?                                                                             ✔
                                                                                                                                           
    14. Did you have any unusual or significant unanticipated expenses?                                                    ✔
                                                                                                                                          
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                       ✔
                                                                                                                                           
    16. Has anyone made an investment in your business?                                                                           ✔
                                                                                                                                           
Official Form 425C                          Monthly Operating Report for Small Business Under Chapter 11                       page 1
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                             4:19-bk-08754-BMW
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                     ✔
                                                                                                                                       
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                41,821.46
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                             74,446.47
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          111,038.49
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         +       5,229.44
                                                                                                                             $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                     9942
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                              22143
                                                                                                                             $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                               4:19-bk-08754-BMW
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                             251940
                                                                                                                               $ ____________

                (Exhibit F)



              5. Employees
                                                                                                                                          12
                                                                                                                                 ____________
    26. What was the number of employees when the case was filed?
                                                                                                                                          12
                                                                                                                                 ____________
    27. What is the number of employees as of the date of this monthly report?



              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                            0
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?
                                                                                                                                            0
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?
                                                                                                                                            0
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                      0
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                               86850
                                        $ ____________           –          74446
                                                                     $ ____________
                                                                                               =           12404
                                                                                                   $ ____________
    32. Cash receipts
                                              116225
                                        $ ____________           –         105452
                                                                     $ ____________
                                                                                               =           10773
                                                                                                   $ ____________
    33. Cash disbursements
                                              -29375             –          -31006             =            1631
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:
                                                                                                                                      137030
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                        133500
                                                                                                                              - $ ____________
    37. Total projected net cash flow for the next month:                                                                                3530
                                                                                                                              = $ ____________



Official Form 425C                      Monthly Operating Report for Small Business Under Chapter 11                            page 3
Debtor Name   Breault Research Organization Inc
              _______________________________________________________                            4:19-bk-08754-BMW
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    ✔
       38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
       39. Bank reconciliation reports for each account.

    ✔
       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




Official Form 425C                      Monthly Operating Report for Small Business Under Chapter 11                         page 4
    Official Form 425 C
    Monthly Operating Report for Small Business Under Chapter 11
    EXCEL EXHIBITS & INSTRUCTIONS

1   Enter case information in the cells below.
    Data entered in these cells is used is linked to other worksheets.

    Case Name:                                              Breault Research Organization Inc
    Case Number:                                            4:19-bk-08754-BMW
    Petition Date:                                                07/16/19
    First MOR Date:                                               07/31/19
    Current MOR Date:                                             08/31/19
    DIP Operating Account Bank                              Alliance Bank of Arizona
    Operating Account #                                             6379
    Other Account #, if applicable         Tax Acct                 9064
    Other Account #, if applicable         Payroll Acct              386
    Other Account #, if applicable


2   Form 425C Questionnaire
       a.   Questions 1-9. If answered No, provide written explanation in the box with the number corresponding to the question number on Exhibit A.
       b.   Questions 9 -18. If answered No, provide written explanation in the box with the number corresponding to the question number on Exhibit B.

3   Bank Reconcilation Worksheet
       a.   Enter ending balance from current month bank statement(s) in cells F14 to K14.
       b.   Identify and list all Deposits in Transit amounts for each account beginning in row 22.
       c.   Identify and list each Outstanding Check amount for each account beginning in row 48.
       d.   Verify balance(s) in row 16 equal account book balances on the current MOR date.
       e.   Enter the total amount of deposits in transit from the previous month's bank reconciliation
            clearing in the current month's statement.
       f.   Enter the total amounts of outstanding checks from the previous month's bank reconciliation
            where cleared in the current month's statement.

4   Cash Activity Summary Worksheet
       a.    Classify and summarize bank deposits into each of the applicable categories listed in Exhibit C&D (or attach your own schedule) and and enter into the appropriate worksheet cells
       b.    Classify and summarize bank disbursement into each of the applicable categories listed in Exhibit C&D (or attach you own schedule) and and enter into the appropriate worksheet cells.
      c.     Verify that the ending bank account balances in row 46 agree to the bank statement and ending balance in the bank reconciliation
             in row 13.
       d.    Enter cash on hand reported (aka book balances) at the end of the previous month in the appropriate cells in Row 50.
      e.     Verify amount in Cell G50 equals the cash reported in the previous month's balance sheet.
       f.    Enter total in row 50 as total opening balance of all accounts in Line 19 of the MOR.
      g.     Enter total in row 55 as total cash receipts in Line 20 of the MOR.
      h.     Enter the total in row 60 as total cash disbursments in Line 21 of the MOR.
       i.    Enter the total in row 62 as total cash flow in Line 22 of the MOR.
       j.    Enter the total in row 64 as cash on hand at the end of the month Line 23 of the MOR.
       k.    Enter the total in row 70 as total professional fees paid this month in Line 28 of the MOR.
       l.    Enter the total in row 74 as total other professional fees paid this month in Line 30 of the MOR.

5   Exhibit E
                Attach your internally prepared schedule of post-petition liabiities or,
                List liabilities and unpaid bills in Exhibit E.
                Carry forward total to Line 24 of Form 425 C.
6   Exhibit F
                Attach your internally prepared schedule of post-petition liabiities or,
                List Amounts due from others on Exhibit F.
                Carry forward the total to Line 25 of Form 425 C.

7   Balance Sheet Worksheet
            Copy Balance Sheet Balances for all historical reports from previous months Balance Sheet worksheet.
            Enter amounts from the Debtor's internally prepared balance sheet into Exhibit G in the category
            which most closely corresponds to the debtor's balance sheet.

8   Income Statement Worksheet
            Copy Income Statement Balances for all historical reports from previous months Income Statement worksheet.
            Enter amounts from the Debtor's internally prepared income statement into Exhibit H in the category
            which most closely corresponds to the debtor's income statement.

9   Cash Flow Worksheet
            Copy historical amounts appearing in the previous month's cash flow worksheet
            into the corresponding months in the current months cash flow worksheet.

10 Cash Activity Summary Worksheet
            Enter the total in row 72 as total professional fees paid in this case in Line 29 of the MOR.
            Enter the total in row 76 as total other professional fees paid in this case in Line 31 of the MOR.

11 Final Checking
            Verify that the resulting total in Exhibit E agrees to total post petition liabilities in in the Balance Sheet.
            Verify that the resulting total in Exhibit F agrees to total receivables in the Balance Sheet.
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Exhibit A
Case Name:                   Breault Research Organization Inc
Case Number:         19-bk-08754-BMW
Report Date:              8/31/19
                                       Questionnaire Explanations

      Question 1 Explanation - If Answered No               Question 6 Explanation - If Answered No




      Question 2 Explanation - If Answered No               Question 7 Explanation - If Answered No




      Question 3 Explanation - If Answered No               Question 8 Explanation - If Answered No




      Question 4 Explanation - If Answered No               Question 9 Explanation - If Answered No




      Question 5 Explanation - If Answered No
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Exhibit B
Case Name:                   Breault Research Organization Inc
Case Number:         19-bk-08754-BMW
Report Date:              8/31/19

                                                             Questionnaire Explanations

        Question 10 Explanation - If Answered Yes                                        Question 15 Explanation - If Answered Yes




        Question 11 Explanation - If Answered Yes                                        Question 16 Explanation - If Answered Yes




        Question 12 Explanation - If Answered Yes                                        Question 17 Explanation - If Answered Yes
                                                                                  A payment was made to Level 3 Communications for $89.09. This invoice was
                                                                                  entered into A/P but not due as of the time of filing. This is for data storage on
                                                                                  our website and we need to continue that.




        Question 13 Explanation - If Answered Yes                                        Question 18 Explanation - If Answered Yes




        Question 14 Explanation - If Answered Yes
We had to pay 4400 Broadway LLC (our old landloard) $9000 in stipulation rent
to get access to our lab and office contents so we could remove them from their
premises.
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Bank Accounts Reconciliation
Case Name:                      Breault Research Organization Inc
Case Number:            4:19-bk-08754-BMW
Report Date:                  08/31/19

                                                 Pre-Petition                        DIP BANK ACCOUNTS
Account Type                                      Account(s)    Operating      Other        Other      Other        Total
Last 4 Digits of Account Number                                   6379         9064          386         0

Ending Balance - Bank Statement                                      $9,942         $0          $0                    $9,942
Add: Deposits in Transit ("DIT's)                          $0            $0         $0          $0             $0         $0
Less: Outstanding Checks:                                  $0       ($4,712)        $0          $0             $0    ($4,712)
Ending Balance - Books                                     $0        $5,229         $0          $0             $0     $5,229

Prior Months' DIT's in Bank Deposits                                    $0          $0          $0                        $0
Prior Months' O/S Checks in Bank Disbursements                      $5,586          $0          $0                    $5,586
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                                   Breault Research Organization Inc
Case Number:                                          4:19-bk-08754-BMW
Report Date:                                                08/31/19

                                                        Pre-Petition                  DIP BANK ACCOUNTS
Account Type                                             Account(s)      Operating       Tax      Payroll    Other     Total
Last 4 Digits of Account Number                                            6379         9064       386

Beginning Bank Statement Balance

CASH RECEIPTS - Exhibit C
  Sales/Receipts                                                         $62,818                                     $62,818
  Accounts Receivable - Postpetition                                     $4,250                                      $4,250
  Other Receipts                                                         $7,379                                      $7,379
  Payments From Insiders (Excl. Loans and Capital)
  Transfers From Other Accounts                                                        $19,325    $50,029            $69,354
  Proceeds From Sale Of Assets
  Accounts Receivable - Prepetition
  Loans and Advances
  Capital Contributions                                    Balance forward from last statement
                                                                        $45,660                                       $45,660
   TOTAL BANK DEPOSITS                                                 $120,106         $19,325   $50,029            $189,460

CASH DISBURSEMENTS - Exhibit D
  Cash Withdrawals and Payments
  Operating Disbursements                                                -$31,779     -$19,325    -$50,029           -$101,132
  Professional Fees - excluding reorg costs
  Other Disbursements                                                     -$9,032                                     -$9,032
  Transfers To Other Accounts                                            -$69,354                                    -$69,354
  Owner Draws/Advances
  Capital Expenditures
  Prepetition Debt Service Payments (PITI)
  Debt Service Payments (PITI)
  Reorganization Disbursements
    Attorney Fees
    Accountant Fees
    US Trustee Quarterly Fees
    Bankruptcy Court Costs
    Other Reorg Costs
  TOTAL BANK DISBURSEMENTS                                               -$110,164    -$19,325    -$50,029           -$179,518

Ending Bank Statement Balance                                             $9,942                                      $9,942

2. Summary of Cash Activity for All Accounts

Line 19. Total Opening Balance of all accounts                           $41,821                                     $41,821

Total Bank Deposits, excluding transfers                                 $120,106                                    $120,106
Less: Deposits in Transit - Beginning of Period
Plus: Deposits in Transit - End of Period              rse balance for   -$45,660                                    -$45,660
Line 20. Total Cash Receipts                                             $74,446                                     $74,446

Total Bank Disbursements, excluding transfers                            -$40,811     -$19,325    -$50,029           -$110,164
Less: O/S Checks Cleared - Beginning of Period                            -$5,586                                     -$5,586
Plus: Outstanding Checks - End of Period                                  $4,712                                       $4,712
Line 21. Total Cash Disbursements                                        -$41,685     -$19,325    -$50,029           -$111,039

Line 22. Net Cash Flow                                                   $32,762      -$19,325    -$50,029           -$36,592

Line 23. Cash on Hand at End of Month                                    $74,583      -$19,325    -$50,029            $5,229

Line 28. Amount paid this month for professional
fees for this case

Line 29. Amount paid for professional fees for this
case

Line 30. Amount paid this month for other
professional fees.

Line 31. Amount paid for other professional fees for
this case
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Cash Activity - Operating Account
Case Name:                                                                                                                             Breault Research Organization Inc
Case Number:                                                                                                                           4:19-bk-08754-BMW
Report Date:                                                                                                                             07/31/19




                                                                                                                                                                                                                   Operating Account Activity
                                                                                                                                                           1            2             3             4          5            6           7              8          9            10         11          12        13           14            15          16         17          18          19           20         21          22          23
                                                                                                                                                                    Accounts                                                                                                 Cash                                                                                            Post
                                                                                                                                                                    Receivable                  Payments                Proceeds   Accounts                               Withdrawals Operating                Other                      Owner     Capital  Pre-Petition   Petition    Reorg -       Reorg - Reorg - US    Reorg -
                                                                                                                                                      Sales/Receipt   Post-         Other          From                from Asset Receivable       Loans and  Capital         and    Disbursment Profession Disbursme     Transfers     Draws and Expenditur    Debt         Debt       Attorney    Accountant Trustee       Court      Reorg -
                    Category             Date                                                  Description                               Amount             s        Petition      Receipts      Insiders Transfers IN    Sales   Pre-Petition     Advances Contributions Payments         s       al Fees      nts          Out        Advances      es       Service      Service       Fees         Fees     Fees         Costs       Other       Total


11.Operating-Disbursements                8/8/2019 ACH Debit                                                                              ($891.00)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00       ($891.00)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00     ($891.00)
11.Operating-Disbursements               8/12/2019 POS Purchase Amaaon COM                                                                 ($64.13)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($64.13)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($64.13)
14.Transfers-to-Other-Accounts           8/13/2019 Online Tranfer Dr - Funds transfer to Dep XXX9064 - From 08 15 2019 Payroll          ($9,446.72)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00   ($9,446.72)       $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00   ($9,446.72)
14.Transfers-to-Other-Accounts           8/13/2019 Online Tranfer Dr - Funds transfer to Dep XXX0386 - From 08 15 2019 Payroll         ($23,510.35)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00 ($23,510.35)        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00 ($23,510.35)
11.Operating-Disbursements               8/13/2019 ACH Debit - ESG Operating CONS COLL 190813                                              ($72.90)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($72.90)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($72.90)
11.Operating-Disbursements               8/13/2019 ACH Debit - First Insurance Insurance 190813                                         ($2,246.88)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00     ($2,246.88)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00   ($2,246.88)
11.Operating-Disbursements               8/13/2019 ACH Debit - Ascensus Trust RET PLAN 190813                                           ($3,083.66)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00     ($3,083.66)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00   ($3,083.66)
11.Operating-Disbursements               8/14/2019 POS Purchase - SpiderOAK KS xxxxx0866 08-13-19                                          ($81.05)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($81.05)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($81.05)
14.Transfers-to-Other-Accounts           8/14/2019 Online Transfer Dr - Funds transfer to DEP xxxxx0386 - to Cover Bank Wire Fee           ($45.00)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00      ($45.00)       $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($45.00)
14.Transfers-to-Other-Accounts           8/14/2019 Online Transfer Dr - Funds transfer to DEP xxxxx9064 - to Cover Bank Wire Fee           ($45.00)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00      ($45.00)       $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($45.00)
11.Operating-Disbursements               8/15/2019 POS Purchase - Merchange Purchase Terminal 449215 INTERMEDIA Anymeeting                 ($78.00)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($78.00)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($78.00)
11.Operating-Disbursements               8/16/2019 POS Purchase - Merchange Purchase Terminal 449215 Pantheon Systems                     ($132.00)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00       ($132.00)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00     ($132.00)
11.Operating-Disbursements               8/19/2019 POS Purchase - Merchange Purchase Terminal 449215 Stamps.com                            ($19.56)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($19.56)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($19.56)
11.Operating-Disbursements               8/19/2019 ACH Debit - OPTUM Direct DEB 190821                                                      ($3.75)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00         ($3.75)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00       ($3.75)
11.Operating-Disbursements               8/21/2019 ACH Debit - U.P.S. UPS Bill 190821                                                      ($14.66)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($14.66)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($14.66)
11.Operating-Disbursements               8/22/2019 ACH Debit - Culligan AZ 190822                                                         ($104.46)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00       ($104.46)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00     ($104.46)
11.Operating-Disbursements               8/22/2019 ACH Debit - Ascensus Trust RET Plan 190822                                           ($3,083.66)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00     ($3,083.66)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00   ($3,083.66)
11.Operating-Disbursements               8/23/2019 ACH Debit - Humana Inc Ins PYMT 190823                                               ($7,472.78)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00     ($7,472.78)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00   ($7,472.78)
11.Operating-Disbursements               8/26/2019 POS Purchase Merchant Purchase Terminal 469216 Intuit Quickbooks                        ($76.09)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($76.09)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($76.09)
11.Operating-Disbursements               8/27/2019 POS Purchase - Merchant Purchase Terminal 469216 AMZN Mktp US MO5T5 4562 Amzn com       ($36.99)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($36.99)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($36.99)
13.Other-Disbursements                   8/28/2019 POS Purchase - Merchant Purchase Terminal 462275 EEGEE S 33 Valencia                    ($31.96)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00    ($31.96)       $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($31.96)
14.Transfers-to-Other-Accounts           8/28/2019 Online Tranfer Dr - Funds transfer to Dep XXX9064 - From 08 30 2019 Payroll          ($9,833.56)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00   ($9,833.56)       $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00   ($9,833.56)
14.Transfers-to-Other-Accounts           8/28/2019 Online Tranfer Dr - Funds transfer to Dep XXX0386 - From 08 30 2019 Payroll         ($26,473.18)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00 ($26,473.18)        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00 ($26,473.18)
11.Operating-Disbursements               8/28/2019 ACH Debit - UNUM America Ins Prem                                                      ($242.90)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00       ($242.90)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00     ($242.90)
11.Operating-Disbursements               8/30/2019 POS Purchase Merchant purchase terminal 469216 AMZN Mktp US MO0DA4BS1 Amzn com          ($16.69)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($16.69)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($16.69)
1.Sales/Receipts                          8/1/2019 WIRE Cr-Usd Incoming Sire Org AR Group S.P.A                                         $10,080.00      $10,080.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00 $10,080.00
11.Operating-Disbursements                         bank fee                                                                                 ($0.01)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00         ($0.01)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00       ($0.01)
1.Sales/Receipts                          8/6/2019 WIRE Cr-Use Incoming wire org SMLB Alternative Distribution                           $3,500.00       $3,500.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00    $3,500.00
1.Sales/Receipts                          8/6/2019 WIRE Cr-Usd Incoming wire ORG Bundesdruckerei GmbH                                   $16,250.00      $16,250.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00 $16,250.00
11.Operating-Disbursements                         bank fee                                                                                ($21.00)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($21.00)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($21.00)
1.Sales/Receipts                          8/7/2019 Remote Deposit                                                                        $3,600.00       $3,600.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00    $3,600.00
3.Other-Receipts                                                                                                                         $7,370.35           $0.00        $0.00    $7,370.35        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00    $7,370.35
1.Sales/Receipts                          8/7/2019   Wire Cr-Usd Incoming Wire Ord Politechnika Slaske                                   $4,750.00       $4,750.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00    $4,750.00
1.Sales/Receipts                          8/9/2019   Deposit                                                                             $7,000.00       $7,000.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00    $7,000.00
1.Sales/Receipts                          8/9/2019   Wire Cr-Usd Incoming Wire Org Cornes Technologies Limited                           $1,762.50       $1,762.50        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00    $1,762.50
1.Sales/Receipts                         8/13/2019   ACH Credit - paypal Transfer 190813 (credit card payment made through Paypal)       $2,000.00       $2,000.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00    $2,000.00
11.Operating-Disbursements                           Paypal credit card fee                                                               ($103.85)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00       ($103.85)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00     ($103.85)
2.Post-Petition-Accounts-Receivable                  credit card payment through paypal - Kellogg Brown                                    $250.00           $0.00      $250.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      $250.00
11.Operating-Disbursements                           T-sheets payment through paypal (timekeeping program)                                ($782.64)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00       ($782.64)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00     ($782.64)
1.Sales/Receipts                         8/27/2019   Wire Cr-Usd incoming wire org Cornes Techologies Limited                           $13,875.00      $13,875.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00 $13,875.00
3.Other-Receipts                         8/29/2019   Moble Deposit - COBRA Vision payment                                                    $8.62           $0.00        $0.00        $8.62        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00        $8.62
2.Post-Petition-Accounts-Receivable      8/29/2019   Moble Deposit - New Era invoices                                                      $500.00           $0.00      $500.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      $500.00
2.Post-Petition-Accounts-Receivable      8/29/2019   ACH Credit - Paypal Transfer 190829 (customer credit card payment)                  $3,500.00           $0.00    $3,500.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00    $3,500.00
11.Operating-Disbursements                           credit card fee                                                                      ($101.80)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00       ($101.80)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00     ($101.80)
11.Operating-Disbursements               8/27/2019   check 29326                                                                           ($74.00)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($74.00)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($74.00)
11.Operating-Disbursements                8/2/2019   check 29327                                                                          ($609.87)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00       ($609.87)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00     ($609.87)
11.Operating-Disbursements                8/7/2019   check 29329                                                                        ($6,285.50)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00     ($6,285.50)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00   ($6,285.50)
11.Operating-Disbursements               8/13/2019   check 29330                                                                        ($2,283.77)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00     ($2,283.77)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00   ($2,283.77)
11.Operating-Disbursements               8/13/2019   check 29331                                                                          ($152.17)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00       ($152.17)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00     ($152.17)
11.Operating-Disbursements               8/23/2019   check 29332                                                                        ($3,461.35)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00     ($3,461.35)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00   ($3,461.35)
11.Operating-Disbursements               8/28/2019   check 29333                                                                           ($74.65)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00        ($74.65)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00      ($74.65)
11.Operating-Disbursements               8/22/2019   check 29334                                                                          ($106.83)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00       ($106.83)   $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00     ($106.83)
13.Other-Disbursements                    8/1/2019   check 29344                                                                        ($9,000.00)          $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00 ($9,000.00)       $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00   ($9,000.00)
                                                                                                                                                             $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00        $0.00
                                                                                                                                                             $0.00        $0.00        $0.00        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00          $0.00    $0.00      $0.00        $0.00        $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00        $0.00
Total                                                                                                                                   -$35,717.90      $62,817.50    $4,250.00    $7,378.97        $0.00       $0.00       $0.00         $0.00        $0.00          $0.00    $0.00   -$31,778.60     $0.00 -$9,031.96 -$69,353.81         $0.00       $0.00      $0.00       $0.00       $0.00        $0.00      $0.00       $0.00       $0.00 -$35,717.90

1.Sales/Receipts
2.Post-Petition-Accounts-Receivable
3.Other-Receipts
4.Payments-from-Insiders
5.Transfers-From-Other-Accounts
6.Proceeds-from-Sales-of-Assets
7.Pre-Petition-Accounts-Receivable
8.Loans-and-Advances
9.Capital-Contributions
10.Cash-Withdrawals-and-Payments
11.Operating-Disbursements
12.Professional-Fees-excluding-reorg
13.Other-Disbursements
14.Transfers-to-Other-Accounts
15.Owner-Draws-and-Advances
16.Capital-Expenditures
17.Pre-Petition-Debt-Service-Payments
18.Post-Petition-Debt-Service-Payments
19.Reorg-Expenses-Attorney
20.ReorgExpenses-Accountant
21.Reorg Expenses-US Trustee Fees
22.Reorg Expenses-Court Fees
23.Other-Reorg-Expenses
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                    Breault Research Organization Inc
Case Number:                                  4:19-bk-08754-BMW
Report Date:                                        8/31/19
Exhibit E

                                                        Post-Petition Liabilities
                                                                                                     Amount Due to
  Who is owed the money?    Date Incurred         Purpose of the Debt           When Due   Amount      Insiders

UPS                           08/03/19              Shipping charges             8/18/19    $107
UPS                           08/10/19              Shipping charges             8/25/19     $90
UPS Supply chain              08/01/19      uties/taxes for customer shipmen     8/11/19   $1,212      disputed
UPS                           08/24/19             shipping to customer          9/8/19      $10
Jennifer Breeding             08/14/19                 website work              9/13/19    $480
UPS                           07/31/19        Rent, utilities/shared services    8/22/19     $85
Apollo Optical                08/19/19          COGS - Job related cost          9/18/19   $9,959
Digi-Key                      08/19/19          COGS - Job related cost          9/18/19    $220
ADP                           08/30/19                  Payroll fees             9/19/19    $156
Culligan                      08/31/19                 bottled water             9/20/19     $32
Digi-Key                      08/22/19          COGS - Job related cost          9/21/19    $211
Humana                        09/01/19               health insurance            9/21/19   $7,473
GST Holding                   09/09/19                      utilities            9/24/19   $1,120
Level 3 Communications        09/01/19           data storage on website         10/1/19    $119
Real Images                   09/03/19          COGS - Job related cost          10/3/19    $690
Jennifer Breeding             09/03/19                 website work              10/3/19    $390
Digi-Key                      08/29/19          COGS - Job related cost                    -$211




Line 24. Total Payables                                                                    $22,143        $0
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Summary of Cash Activity for All Accounts
Case Name:                                    Breault Research Organization Inc
Case Number:                                 19-bk-08754-BMW
Report Date:                                     8/31/19
Exhibit F

ACCOUNTS RECEIVABLE
Who Owes You the Money                            Trade      From Insiders      Total      Due Date                                      Comments
                                                                                 $0
Automotive Lighting Rear Lamps Italy             $16,412                      $16,412       6/28/19
Rudolph Technologies                             $14,000                      $14,000   ent - prior to start of project
Rudolph Technologies                              $2,250                       $2,250   ent - prior to start of project
New Era Technology                               $17,050                      $17,050   ent - prior to start of project
UoTek / Largan Precision Co                      $30,600                      $30,600        9/6/19
B/E Aerospace                                     $1,000                       $1,000        9/6/19
Cornes / Panasonic Eco Solutions                  $4,425                       $4,425        9/8/19
Cornes / Ichikoh Industries                       $8,850                       $8,850        9/8/19
Asdoptics Science / SIOM                         $12,800                      $12,800        9/8/19
Thales Alenia Space Switzerland                   $3,500                       $3,500       9/11/19
YAG Optics/Broadcom Limited Malaysia              $2,800                       $2,800       9/16/19
Cornes / Stanley Electric                         $4,425                       $4,425       9/18/19
Viavi Solutions                                   $3,500                       $3,500       9/18/19
EZ Systems                                        $2,326                       $2,326       9/26/19
New Bedford                                       $7,370                       $7,370       9/27/19
New Era Technology                               $59,550                      $59,550       9/27/19
Asdoptics Science/University of Jinan            $10,000                      $10,000       9/29/19
Malin                                              $800                         $800        9/30/19
Rudolph Technologies                             $1,425                       $1,425        9/30/19
Rudolph Technologies                             $3,900                       $3,900        9/30/19
Instrument Tech. Research Center                 $3,632                       $3,632       10/11/19
Cornes / Ushio Inc                               $4,425                       $4,425       10/18/19
Zernike / Point Engineering                      $12,000                     $12,000       10/18/19
Cornes / Stanley Electric                         $3,375                      $3,375       10/25/19
Cornes / Koito                                    $8,550                      $8,550       10/25/19
Cornes / Koito                                   $12,975                      $12,975      10/25/19
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
                                                                                 $0
Total Accounts Receivable                       $251,940          $0         $251,940
 Less Discounts/Returns/etc.
Line 25. TOTAL RECEIVABLES                      $251,940          $0         $251,940                               Must equal total Receivables in Balance Sheet
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Additonal Information
Case Name:                                           Breault Research Organization Inc
Case Number:                              9-bk-08754-BMW
Report Date:                                 7/16/19

                                               Schedules
Balance Sheet                                     A&B
                                                07/16/19       07/31/19     08/31/19  09/30/19 10/31/19 11/30/19 12/31/19 01/31/20      02/29/20    03/31/20   04/30/20 05/31/20 06/30/20
Cash                                              $52,395        $41,821       $5,229
Financial Assets
Accounts Receivable                              $168,903       $156,526     $251,940
Receivables From Insiders                              $0
Investments                                            $0
Inventory                                              $0
Real Property - Net                                    $0
Fixed Assets - Net                                $23,138        $22,578      $21,419
Property, Plant, Equipment & Vehicles - Net            $0
Intangibles and Intellectual Property
All other assets                                 $395,169       $164,307     $141,394
Total Assets                                     $639,605       $385,232     $419,983       $0       $0       $0       $0        $0            $0         $0        $0       $0       $0

                                              Schedules D,
                                                 E&F
Pre-Petition Claims:                                   $0
 Secured Claims                                        $0
 Unsecured Claims                              $4,288,798       $636,578     $609,532
 Total Pre-Petition Claims                     $4,288,798       $636,578     $609,532       $0       $0       $0       $0        $0            $0         $0        $0       $0       $0

Post-Petition Liabilities:
 Accounts Payable                                                $12,302      $20,713
 Payables to Insiders                                                 $0
 Accrued Liabilities, excluding interest                              $0
 Secured Debt                                                         $0
 Accrued Interest - Secured Debt                                      $0
 Total Post-Petition Liabilities                       $0        $12,302      $20,713       $0       $0       $0       $0        $0            $0         $0        $0       $0       $0

Owner Equity
 Capital Investment/Stock                        $657,103       $657,103     $657,103
 Additional Paid In Capital
 Net Income - Current Year                       ($273,491)      ($39,787)     ($1,364)
 Retained Earnings - Petition Date             ($4,211,616)   ($4,211,616) ($4,211,616) ######## ######## ######## ######## ########   ($4,211,616) ######### ######## ######## ########
 Retained Earnings - Post Petition
 Total Owner Equity                            ($3,828,004)   ($3,594,300) ($3,555,877) ######## ######## ######## ######## ########   ($4,211,616) ######### ######## ######## ########

Total Liabilities and Owners Equity              $460,794     ($2,945,420) ($2,925,632) ######## ######## ######## ######## ########   ($4,211,616) ######### ######## ######## ########
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11
Additional Information
Case Name:                         Breault Research Organization Inc
Case Number:                       4:19-bk-08754-BMW
Report Date:                         7/16/19

                                     7/17-
Income Statement                     31/19
                                    07/31/19   08/31/19 09/30/19 10/31/19 11/30/19 12/31/19 01/31/20 02/29/20 03/31/20 04/30/20 05/31/20 06/30/20   Total        07/31/20 08/31/20 09/30/20 10/31/20 11/30/20 12/31/20 01/31/21 02/28/21 03/31/21 04/30/21 05/31/21 06/30/21    Total        07/31/21 08/31/21 09/30/21 10/31/21 11/30/21 12/31/21 01/31/22 02/28/22 03/31/22 04/30/22 05/31/22 06/30/22    Total
Revenues:
 Revenues                            $38,257 $154,737                                                                                            $192,994                                                                         $154,125                                  $154,125                                                                          $154,125                                  $154,125
 Cost of Revenues                   -$22,023 -$18,240                                                                                            -$40,263                                                                        -$117,373                                 -$117,373                                                                         -$117,373                                 -$117,373
 Other                                                                                                                                                 $0                                                                                                                         $0                                                                                                                          $0
Gross Profit                         $16,234 $136,497        $0        $0      $0       $0       $0        $0       $0       $0       $0      $0 $152,731             $0       $0       $0       $0       $0       $0       $0    $36,751      $0       $0      $0       $0 $36,751               $0       $0       $0       $0       $0       $0       $0    $36,751      $0       $0      $0       $0 $36,751

Operating Expenses:
 Selling and Marketing                       -$15,406                                                                                             -$15,406                                                                                                                           $0                                                                                                                          $0
 Payroll and Payroll Taxes          -$37,741 -$61,863                                                                                             -$99,603                                                                         -$6,462                                      -$6,462                                                                        -$6,462                                      -$6,462
 Insider Compensation                                                                                                                                   $0                                                                         -$4,000                                      -$4,000                                                                        -$4,000                                      -$4,000
 Rent and Occupancy Costs            -$4,071    -$9,000                                                                                           -$13,071                                                                         -$6,302                                      -$6,302                                                                        -$6,302                                      -$6,302
 Repairs and Maintenance                                                                                                                                $0                                                                         -$1,308                                      -$1,308                                                                        -$1,308                                      -$1,308
 Property Taxes                           $0                                                                                                            $0                                                                                                                           $0                                                                                                                          $0
 Insurance                           -$7,676    -$7,624                                                                                           -$15,301                                                                                                                           $0                                                                                                                          $0
 Other General and Administrative    -$1,298    -$2,899                                                                                            -$4,197                                                                         -$1,012                                      -$1,012                                                                        -$1,012                                      -$1,012
 Professional Fees                   -$4,675                                                                                                       -$4,675                                                                                                                           $0                                                                                                                          $0
 Other                                                                                                                                                  $0                                                                           -$964                                        -$964                                                                          -$964                                        -$964
Total Operating Expenses            -$55,460 -$96,792        $0        $0      $0       $0       $0        $0       $0       $0       $0      $0 -$152,252            $0       $0       $0       $0       $0       $0       $0    -$20,047     $0       $0      $0       $0    -$20,047           $0       $0       $0       $0       $0       $0       $0    -$20,047     $0       $0      $0       $0    -$20,047

Non-Operating Expenses
  Interest Expense                        $0       -$42                                                                                                -$42                                                                                                                          $0                                                                                                                          $0
  Gain (Loss) on Sale of Assets           $0                                                                                                             $0                                                                                                                          $0                                                                                                                          $0
  Moving Expenses                         $0       -$82                                                                                                -$82                                                                                                                          $0                                                                                                                          $0
  Depreciation and Amortization        -$561    -$1,159                                                                                             -$1,720                                                                        -$6,556                                      -$6,556                                                                        -$6,556                                      -$6,556
  Reorganization Expenses                                                                                                                                $0                                                                        -$2,500                                      -$2,500                                                                        -$2,500                                      -$2,500
Total Non-Operating Costs              -$561    -$1,282      $0        $0      $0       $0       $0        $0       $0       $0       $0      $0    -$1,843           $0       $0       $0       $0       $0       $0       $0     -$9,056     $0       $0      $0       $0     -$9,056           $0       $0       $0       $0       $0       $0       $0     -$9,056     $0       $0      $0       $0     -$9,056

Net Income (Loss) Before Taxes      -$39,787   $38,423       $0        $0      $0       $0       $0        $0       $0       $0       $0      $0    -$1,364           $0       $0       $0       $0       $0       $0       $0     $7,648      $0       $0      $0       $0     $7,648            $0       $0       $0       $0       $0       $0       $0     $7,648      $0       $0      $0       $0     $7,648

Federal and State Tax Expense                                                                                                                               $0                                                                                                                          $0                                                                                                                          $0

Net Income (Loss)                   -$39,787   $38,423       $0        $0      $0       $0       $0        $0       $0       $0      $0       $0    -$1,364           $0       $0       $0       $0       $0       $0       $0     $7,648      $0       $0      $0       $0     $7,648            $0       $0       $0       $0       $0       $0       $0     $7,648      $0       $0      $0       $0     $7,648
                                                                                               Year 1                                                                                                      Year 2                                                                                                Year 3                                                                                                Year 4                                                                                                Year 5                                                Case Total
                                            ###### 08/31/19    09/30/19   ###### ###### ###### 01/31/20 02/29/20 ###### ###### ###### ######     Total     ###### ######   09/30/20   ###### ###### ###### 01/31/21 ###### ###### ###### ###### ######   Total   ###### ######   09/30/21   ###### ###### ###### 01/31/22 ###### ###### ###### ###### ######   Total   ###### ######   09/30/22   ###### ###### ###### 01/31/23 ###### ###### ###### ###### ######   Total   ###### ######   09/30/23   ###### ###### ###### 01/31/24 ###### ###### ###### ###### ######   Total    07/31/24
Operating Receipts:
  Sales/Receipts                                    $62,818                                                                                    $62,818                                                                                                   $0                                                                                                    $0                                                                                                    $0                                                                                                    $0       $62,818
  Accounts Receivable - Postpetition                $4,250                                                                                     $4,250                                                                                                    $0                                                                                                    $0                                                                                                    $0                                                                                                    $0       $4,250
  Other Receipts                                    $7,379                                                                                     $7,379                                                                                                    $0                                                                                                    $0                                                                                                    $0                                                                                                    $0       $7,379
  Payments From Insiders (Excl. Loans a               $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
  Transfers From Other Accounts                     $69,354                                                                                    $69,354                                                                                                   $0                                                                                                    $0                                                                                                    $0                                                                                                    $0       $69,354
Total Operating Receipts                     $0    $143,800      $0        $0     $0      $0     $0       $0     $0      $0     $0     $0      #######      $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       #######

Operating Expenses:
  Cash Withdrawals and Payments                       $0                                                                                          $0                                                                                                     $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
  Operating Disbursements                          ########                                                                                    #######                                                                                                   $0                                                                                                    $0                                                                                                    $0                                                                                                    $0       #######
  Professional Fees - excluding reorg cos             $0                                                                                          $0                                                                                                     $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
  Other Disbursements                               ($9,032)                                                                                    ($9,032)                                                                                                 $0                                                                                                    $0                                                                                                    $0                                                                                                    $0       ($9,032)
  Transfers To Other Accounts                      ($69,354)                                                                                   ($69,354)                                                                                                 $0                                                                                                    $0                                                                                                    $0                                                                                                    $0      ($69,354)
Total Operating Expenses                     $0    ########      $0        $0     $0      $0     $0       $0     $0      $0     $0     $0      #######      $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0      #######

Operating Cash Flow (Deficit)                $0    ($35,718)     $0        $0     $0      $0     $0       $0     $0      $0     $0     $0      ($35,718)    $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0      ($35,718)

Non-Operating Receipts:
  Proceeds from Sales of Assets                       $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
  Pre-Petition Accounts Receivable                    $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
  Loans and Advances                                  $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
  Capital Contributions                               $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
Total Non-Operating Receipts                 $0       $0         $0        $0     $0      $0     $0       $0     $0      $0     $0     $0        $0         $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0         $0

Non Operating Disbursements:
  Owner Draws/Advances                                $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
  Capital Expenditures                                $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
  Prepetition Debt Service Payments (PIT              $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
  Debt Service Payments (PITI)                        $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
  Reorganization Disbursements
     Attorney Fees                                    $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
     Accountant Fees                                  $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
     US Trustee Quarterly Fees                        $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
     Bankruptcy Court Costs                           $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
     Other Reorg Costs                                $0                                                                                         $0                                                                                                      $0                                                                                                    $0                                                                                                    $0                                                                                                    $0         $0
Total Non-Operating Disbursements            $0       $0         $0        $0     $0      $0     $0       $0     $0      $0     $0     $0        $0         $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0         $0

Non-Operating Cash Flow (Deficit)            $0       $0         $0        $0     $0      $0     $0       $0     $0      $0     $0     $0        $0         $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0       $0     $0        $0        $0     $0      $0     $0      $0     $0     $0     $0     $0      $0         $0

Cash Flow (Deficit)                          $0    ($35,718)    $0       $0     $0     $0     $0       $0       $0     $0     $0     $0   ($35,718)          $0     $0      $0       $0     $0     $0     $0      $0     $0     $0     $0     $0         $0        $0     $0      $0       $0     $0     $0     $0      $0     $0     $0     $0     $0         $0        $0     $0      $0       $0     $0     $0     $0      $0     $0     $0     $0     $0         $0        $0     $0      $0       $0     $0     $0     $0      $0     $0     $0     $0     $0         $0      ($35,718)
Accumulated Cash Flow (Deficit)              $0    ($35,718) ($35,718) ###### ###### ###### ####### ($35,718) ###### ###### ###### ######                  ###### ###### ($35,718) ###### ###### ###### ####### ###### ###### ###### ###### ######               ###### ###### ($35,718) ###### ###### ###### ####### ###### ###### ###### ###### ######               ###### ###### ($35,718) ###### ###### ###### ####### ###### ###### ###### ###### ######               ###### ###### ($35,718) ###### ###### ###### ####### ###### ###### ###### ###### ######               ($35,718)

Cash Balance                                 $0    ($35,718) ($35,718) ###### ###### ###### ####### ($35,718) ###### ###### ###### ######                  ###### ###### ($35,718) ###### ###### ###### ####### ###### ###### ###### ###### ######               ###### ###### ($35,718) ###### ###### ###### ####### ###### ###### ###### ###### ######               ###### ###### ($35,718) ###### ###### ###### ####### ###### ###### ###### ###### ######               ###### ###### ($35,718) ###### ###### ###### ####### ###### ###### ###### ###### ######               ($35,718)
                                     Breault Research Organization Inc
                                                       BALANCE SHEET
                                                       As of August 31, 2019


                                                                                                     TOTAL
ASSETS
 Current Assets
 Bank Accounts
  111240 Alliance Bank of Arizona checking                                                          5,229.44
  111241 Alliance Bank - Payroll Acct                                                                   0.00
  111242 Alliance Bank - Taxes Account                                                                  0.00
 Total Bank Accounts                                                                               $5,229.44
 Accounts Receivable
  112100 Accounts Receivable - Trade                                                              251,939.85
 Total Accounts Receivable                                                                       $251,939.85
 Other Current Assets
  112190 Allowance for Bad Debts                                                                   -6,005.00
  113111 Notes Receivable - Francis Miller                                                          1,537.71
  119210 A/P - Trade Deposits                                                                      21,754.50
  151210 Prepaid Insurance - Business                                                               9,683.05
  151250 Prepaid Insurance - Workers comp                                                            233.86
  151410 Prepaid Postage                                                                               12.57
  151630 Prepaid Subcontract work                                                                  23,805.00
  151810 Prepaid Tradeshow                                                                          5,917.40
  151910 Prepaid Expenses - Other                                                                   9,394.38
 Total Other Current Assets                                                                       $66,333.47
 Total Current Assets                                                                            $323,502.76
 Fixed Assets
 175100 Furniture & Fixtures                                                                       91,865.21
 175500 Test Equipment & Tools                                                                    327,565.27
 175600 Computers & Accessories                                                                   206,120.08
 175700 Computer Software                                                                          51,628.62
 176100 A/D-Furniture & Fixtures                                                                  -91,865.21
 176500 A/D-Test Equipment & Tools                                                               -317,899.25
 176600 A/D-Computer & Accessories                                                               -196,447.72
 176700 A/D-Computer Software                                                                     -49,547.95
 Total Fixed Assets                                                                               $21,419.05
 Other Assets
 181010 Trademarks                                                                                 18,471.00
 185010 Cash Value of Life Insurance                                                               53,003.02
 185100 Deposits                                                                                    1,142.00
 185200 Patent Fees                                                                                 2,445.00
 Total Other Assets                                                                               $75,061.02
TOTAL ASSETS                                                                                     $419,982.83

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable


                                    Accrual Basis Wednesday, September 11, 2019 12:52 PM GMT-7          1/2
                                                                                                        TOTAL
   211000 Accounts Payable (A/P)                                                                     20,712.50
  Total Accounts Payable                                                                            $20,712.50
  Other Current Liabilities
   212510 401K W/H Payable - Regular                                                                      0.00
   212520 Undistributed Section 125 W/H                                                               -2,227.50
   212530 Optional Ins-W/H payable                                                                     -743.68
   214200 Accrued Vacations                                                                           8,195.45
   216630 Notes Payable - Insurance Premium                                                           2,225.25
   217320 DEFERRED MAINTENANCE REVENUE                                                              351,213.07
   217340 Deferred Revenue                                                                          250,861.00
   217430 COBRA Insurance                                                                                 8.45
   217500 Suspense Acccount                                                                               0.00
  Total Other Current Liabilities                                                                  $609,532.04
 Total Current Liabilities                                                                         $630,244.54
 Total Liabilities                                                                                 $630,244.54
 Equity
 300100 Preferred Stock - Series A                                                                  500,000.00
 300200 Common Stock                                                                                 11,534.93
 301000 Capital Contribs-Excess of PAR                                                              196,151.53
 305000 Treasury Stock                                                                               50,584.00
 320100 Retained Earnings
 Opening Balance Equity                                                                           -1,140,524.19
 Net Income                                                                                         171,992.02
 Total Equity                                                                                     $ -210,261.71
TOTAL LIABILITIES AND EQUITY                                                                       $419,982.83




                                     Accrual Basis Wednesday, September 11, 2019 12:52 PM GMT-7            2/2
                                       Breault Research Organization Inc
                                                         PROFIT AND LOSS
                                                              August 2019


                                                                                                       TOTAL
Income
 401000 ES Revenue                                                                                   87,550.00
 421100 SOFTWARE SALE - ASAP                                                                         12,500.00
 424100 SOFTWARE MAINTENANCE-ASAP                                                                    55,023.03
 424125 Software Maintenance - APEX                                                                   1,729.12
 424900 Software Maintenance-Other                                                                    1,541.72
 429500 Software Sales Discounts                                                                     -3,613.93
 460200 Interest Income                                                                                   6.48
 460800 Other Income - Miscellaneous                                                                      0.17
Total Income                                                                                       $154,736.59
Cost of Goods Sold
 481000 Direct Labor                                                                                 21,270.62
 481500 Direct Fringe Benefits                                                                        3,212.51
 482000 Direct Material                                                                              -7,651.97
 482500 Direct Postage & Freight                                                                      1,408.68
Total Cost of Goods Sold                                                                            $18,239.84
GROSS PROFIT                                                                                       $136,496.75
Expenses
 501010 Administrative Labor                                                                         52,559.74
 501310 Taxable Benefits                                                                               140.00
 501420 Vacation Time                                                                                 2,585.50
 502010 FICA-Social Security                                                                          4,507.71
 502020 FICA-Medicare                                                                                 1,054.24
 502180 SUTA Taxes - OR                                                                                  28.55
 502200 Workers Compensation                                                                           233.83
 502300 Health Insurance                                                                              6,414.89
 502400 Life & Ad&D Insurance                                                                          102.00
 502500 Short Term Disability Insurance                                                                140.90
 502990 Contra - Finge Benefits                                                                      -3,212.51
 513110 Commissions In-House                                                                           781.64
 513120 COMMISSIONS-OUTSIDE REPS                                                                     14,985.50
 513210 Advertising & Marketing                                                                        315.54
 513710 Tradeshow Booth Costs                                                                          104.96
 522210 General Liability Insurance                                                                   3,944.90
 523110 Building Lease/Rent                                                                           9,000.00
 527910 Other Outside Services                                                                         480.00
 529210 Operating Supplies                                                                               64.13
 529310 Break Room supplies & Beverages                                                                  31.74
 529710 Expendable Equipment (less then $500)                                                            36.99
 531010 Bank Charges & Fees                                                                            398.66
 531050 Postage                                                                                          56.71
 531310 Business Meals (non-sales)                                                                       31.96
 531820 Licenses & Fees                                                                               2,004.42
 581110 Interest Expense                                                                                 41.50


                                      Accrual Basis Wednesday, September 11, 2019 12:50 PM GMT-7          1/2
                                                                                                    TOTAL
Total Expenses                                                                                  $96,833.50
NET OPERATING INCOME                                                                            $39,663.25
Other Expenses
 525310 Depreciation - Equipment                                                                  1,158.51
 581912 Moving Expenses                                                                              81.71
Total Other Expenses                                                                             $1,240.22
NET OTHER INCOME                                                                                $ -1,240.22
NET INCOME                                                                                      $38,423.03




                                   Accrual Basis Wednesday, September 11, 2019 12:50 PM GMT-7          2/2
                                       Breault Research Organization Inc
                                               STATEMENT OF CASH FLOWS
                                                            August 2019


                                                                                              TOTAL
OPERATING ACTIVITIES
 Net Income                                                                                38,423.03
 Adjustments to reconcile Net Income to Net Cash provided by operations:
  112100 Accounts Receivable - Trade                                                      -90,940.00
  113111 Notes Receivable - Francis Miller                                                      -6.48
  119210 A/P - Trade Deposits                                                              11,989.00
  151210 Prepaid Insurance - Business                                                       3,696.90
  151250 Prepaid Insurance - Workers comp                                                     233.83
  151410 Prepaid Postage                                                                       55.15
  151910 Prepaid Expenses - Other                                                           2,470.15
  176500 A/D-Test Equipment & Tools                                                           259.66
  176600 A/D-Computer & Accessories                                                           804.35
  176700 A/D-Computer Software                                                                 94.50
  211000 Accounts Payable (A/P)                                                             8,410.59
  212510 401K W/H Payable - Regular                                                             0.00
  212520 Undistributed Section 125 W/H                                                          0.00
  212530 Optional Ins-W/H payable                                                             -77.53
  214200 Accrued Vacations                                                                  2,585.50
  216630 Notes Payable - Insurance Premium                                                 -2,205.38
  217320 DEFERRED MAINTENANCE REVENUE                                                       4,262.06
  217340 Deferred Revenue                                                                 -31,566.85
  217430 COBRA Insurance                                                                        0.00
  217500 Suspense Acccount                                                                    -43.48
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:            -89,978.03
Net cash provided by operating activities                                                $ -51,555.00
FINANCING ACTIVITIES
 Opening Balance Equity                                                                    14,962.98
Net cash provided by financing activities                                                 $14,962.98
NET CASH INCREASE FOR PERIOD                                                             $ -36,592.02
Cash at beginning of period                                                                41,821.46
CASH AT END OF PERIOD                                                                      $5,229.44




                                             Thursday, October 10, 2019 03:10 PM GMT-7           1/1
